






Opinion issued May 30, 2002










In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00270-CV

____________


STEVEN E. HALPIN,  Appellant


V.


CHARLES MOORE, M.D.,  Appellee






On Appeal from the 234th District Court

Harris County, Texas

Trial Court Cause No. 2001-17272






O P I N I O N

	Appellant has filed a motion to dismiss his appeal.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P.
42.1(a)(2).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.


PER CURIAM

Panel consists of Justices Cohen, Taft, and Nuchia.

Do not publish. Tex. R. App. P. 47.


